PROB 22                                                                                              DOCKET NUMBER (Tran. Court)
(Rev. 2/88)
                                                                                                     0650 3:14CR00090 - 19
                              TRANSFER OF JURISDICTION
                                                                                                     DOCKET NUMBER (Rec. Court)



NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:             DISTRICT                            DIVISION
                                                                 Middle District of Tennessee        NASHVILLE
 Wallace Earl Coffey
                                                                 NAME OF SENTENCING JUDGE

                                                                 The Honorable Todd J. Campbell, U.S. District Judge
                                                                 DATES OF PROBATION/SUPERVISED       FROM              TO
                                                                 RELEASE:
                                                                                                     04/21/2017        04/20/2025

OFFENSE


 Count 1: Conspiracy to Distribute/Possess with Intent to Distribute Heroin; 21:846; Class A Felony.

  PART 1 - ORDER TRANSFERRING JURISDICTION

  UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE


           IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or
 supervised releasee named above be transferred with the records of the Court to the United States District Court for
 the        Northern District of Alabama        upon that Court's order of acceptance of jurisdiction. This Court hereby
 expressly consents that the period of probation or supervised release may be changed by the District Court to which
 this transfer is made without further inquiry of this Court.*




         Date                                                                 U.S. District Judge



 *This sentence may be deleted in the discretion of the transferring Court.

 PART 2 - ORDER ACCEPTING JURISDICTION

 United States District Court for the NORTHERN DISTRICT OF ALABAMA



           IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
   releasee be accepted and assumed by this Court from and after the entry of this order.




         Effective Date                                                        U.S. District Judge




                                                                                                     Assigned Officer Initials (JPP)


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